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UNITED STATES BANKRUPTCY COURT                                  
EASTERN DISTRICT OF NEW YORK                                     
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x       
In Re:                                                          Chapter 11 
                                                                 
84 ELTON, LLC,                                                  Case No. 1‐18‐40038 (NHL) 
                                                                 
                                       Debtor. 
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x 
 
 
                                   LIMITED OBJECTION  TO DEBTOR’S MOTION 
                                 FOR AUTHORITY TO SELL 321 PULASKI STREET 
 
                    Sarah M. Keenan, an attorney duly admitted to practice in New York State and 

the United States District Court for the Eastern District of New York, affirms the following under 

the penalty of perjury: 

                 1.    I am a member of Sferrazza & Keenan, PLLC, counsel for Washington 

Equity and Funding Corp. (“Washington Equity”), a secured creditor and party in interest in this 

proceeding.   

                 2.    I submit this affirmation in response to the Debtor’s motion under 

Bankruptcy Code sections 363(a), (b), (f) and (m), and rules 2002, 6004 and 9004 of the Federal 

Rules of Bankruptcy Procedure for, inter alia, authority to sell at auction the Debtor’s real 

property commonly known as 321 Pulaski Street, Brooklyn, New York (“321 Pulaski Street”), at 

public auction, free and clear of all liens,  claims, encumbrances and other interests upon 

condition that such liens, claims, encumbrances and other interests attach to the proceeds of 

the sale. 

                 3.    The Debtor proposes to market 321 Pulaski Street first in bulk with the 

adjacent real property located at 319 Pulaski Street, Brooklyn, New York, which is owned by a 



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non‐debtor entity, B & H Associates Group LLC (“B&H”).  B & H is an affiliate of the Debtor and 

has consented to the marketing and sale of 319 Pulaski as part of the auction.   

                4.      The Motion provides that should the bulk bid exceed the aggregate of the 

individual bids for 319 Pulaski and 321 Pulaski, then the properties will be sold in bulk.  If the 

individual bids exceed the bulk bid, then the properties will be sold individually. 

                5.      As proposed, the ultimate bid that is the best for Debtor’s estate shall be 

accepted, subject to the Court’s approval. 

                6.      The Motion is silent as to the amount of the secured debt against 319 

Pulaski, a secured creditor that has not consented to have its claim attach to the proceeds of 

sale.  Both Washington Equity and this secured creditor have their respective rights to bid in 

their respective liens.   

                7.      Washington Equity hereby requests clarification as to the outcome of the 

sale if the amount of a bulk bid is greater than the individual bids, but less than the combined 

secured debt against both properties.  In such a scenario, may the Court only approve the 

individual bids?   

                8.      Washington Equity also requests disclosure of where the Notice of Sale 

will be published prior to the sale.  Specifically, Washington Equity wants to know what specific 

newspapers, blog sites, trade papers or other information outlets will be used so as to ensure 

that the Debtor’s property is marketed properly in the short time between the April 26, 2018, 

and the proposed auction date of May 17, 2018. 

                WHEREFORE, secured creditor Washington Equity respectfully requests that 

both of its concerns surrounding the sale of 312 Pulaski  Street – the bidding procedure and the 



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advertising efforts – be addressed and resolved at the hearing scheduled to be held on April 26, 

2018, together with such other and further relief as is just and proper. 

 
Dated:    April 17, 2018 
                                                     _/s/ Sarah M. Keenan_ 
                                                     Sarah M. Keenan, Esq. 
                                                     Sferrazza & Keenan, PLLC 
                                                     Attorneys for Secured Creditor 
                                                     Washington Equity and Funding Corp. 
                                                     532 Broadhollow Rd, Suite 111 
                                                     Melville, NY 11747‐3609 
                                                     Ph: 631‐753‐4400 x 23 
                                                     em: sally@skpllc.com 
 




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EASTERN DISTRICT OF NEW YORK                                           
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x             
In Re:                                                                Chapter 11 
                                                                       
84 ELTON, LLC,                                                        Case No. 1‐18‐40038 (NHL) 
                                                                       
                                       Debtor.                        AFFIRMATION OF SERVICE 
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x 

                      
                      
                     I, Sarah M. Keenan, an attorney duly admitted to practice law before the 
Courts of the State of New York, do hereby affirm under penalty of perjury as follows: 
                      
                     On April 17, 2017, I filed the attached LIMITED OBJECTION  with the Clerk 
of the Court by using the CM/ECF system, and a true and correct copy has been served 
via CM/ECF and United States Mail on the following parties: 
                      
Avrum Rosen, Esq.                                           84 Elton LLC 
Rosen, Kantrow & Dillon PLLC                                5904 18th Avenue 
38 New Street                                               Suite 48 
Huntington, NY 11743                                        Brooklyn, NY 11204 
                                                             
Scott Dillon, Esq.                                          Rachel Weinberger, Esq.  
Rosen, Kantrow & Dillon PLLC                                Office of the U.S. Trustee 
38 New Street                                               201 Varick Street, Suite 1006  
Huntington, NY 11743                                        New York, New York 11201 
                                   
                                   
                                   
Dated: Melville, New York 
             April 17, 2018 
                                                           s/Sarah M. Keenan  
                                                           Sferrazza & Keenan PLLC 
                                                           532 Broadhollow Road 
                                                           Suite 111 
                                                           Melville, NY 11746 
                                   
                                   
